Case 2:18-cv-03893-RGK-AGR Document 62 Filed 03/19/19 Page 1 of 4 Page ID #:482



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15    Attorneys for Defendant
16    [Additional counsel appearing on signature page]
17                         UNITED STATES DISTRICT COURT
18          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19
20    Edwardo Munoz, individually and on
      behalf of all others similarly situated,    Case No. 2:18-cv-03893-RGK-AGR
21
                                Plaintiff,
22                                                JOINT REPORT REGARDING
             v.                                   DISCOVERY DISPUTES
23
      7-Eleven, Inc., a Texas corporation,             Judge: Hon. R. Gary Klausner
24                                                     Magistrate Judge: Hon. A. Rosenberg
                                Defendant.
25                                                 Complaint Filed: May 9, 2018
                                                   Trial Date: July 2, 2019
26                                                 Discovery Cut-Off: April 3, 2019
27
28
      JOINT REPORT REGARDING
      DISCOVERY DISPUTES                         -1-
Case 2:18-cv-03893-RGK-AGR Document 62 Filed 03/19/19 Page 2 of 4 Page ID #:483



  1         The Parties, Edwardo Munoz, on behalf of himself and the Class, and 7-
  2   Eleven, Inc., hereby submit the following Joint Report in advance of the telephonic
  3   discovery conference set for March 21, 2019 at 10:00 a.m.:
  4         The Parties have met and conferred regarding subpoenas that 7-Eleven has
  5   served on four of Plaintiff Munoz’s former employers, but are at issue on the
  6   following two requests for the production of documents contained in the subpoenas:
  7         1.    Any and all documents related to job applications, resumes, and related
  8   documentation pertaining to the hiring of Munoz; and
  9         2.    Any and all documents related to personnel records and/or other records
10    of employment history pertaining to Munoz.
11
12
13    Dated: March 19, 2019                 Edwardo Munoz, individually and on behalf
                                            of all others similarly situated,
14
15                                    By:    /s/ Patrick H. Peluso
                                            One of Plaintiff’s Attorneys
16
17                                          Mike Arias (CSB #115385)
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18
                                            Alfredo Torrijos (CSB #222458)
19                                           alfredo@asstlawyers.com
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      JOINT REPORT REGARDING
      DISCOVERY DISPUTES                      -2-
Case 2:18-cv-03893-RGK-AGR Document 62 Filed 03/19/19 Page 3 of 4 Page ID #:484



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  4
  5                                     Attorneys for Plaintiff Edwardo Munoz

  6
  7   Dated: March 19, 2019             7-Eleven, Inc.,

  8                               By:   /s/ Delavan J. Dickson
  9                                     One of Defendant’s Attorneys

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18                                      Attorneys for Defendant 7-Eleven, Inc.
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      JOINT REPORT REGARDING
      DISCOVERY DISPUTES                  -3-
Case 2:18-cv-03893-RGK-AGR Document 62 Filed 03/19/19 Page 4 of 4 Page ID #:485



  1                            CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on March 19, 2019.
  5                                         /s/ Patrick H. Peluso
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      JOINT REPORT REGARDING
      DISCOVERY DISPUTES                      -4-
